                UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE



UNITED STATES OF AMERICA                    )
                                            )
v.                                          )        NO. 2:08-CR-102
                                            )
HECTOR CIGARROA                             )



                                    ORDER

        This criminal matter is before the Court to consider the Report and

Recommendation of the United States Magistrate Judge dated October 30, 2009. [Doc.

642]. The government has filed no objections to this report.

        After careful consideration of the Report and Recommendation of the United

States Magistrate Judge, it is hereby ORDERED that this Report and Recommenda-

tion is ADOPTED and APPROVED, and that the Motion to Suppress filed by Hector

Cigarroa is GRANTED. [Doc. 423].

              ENTER:

                                                     s/J. RONNIE GREER
                                                UNITED STATES DISTRICT JUDGE




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